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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARTIN HECHT AS ADMINISTRATOR OF                                     Index No.: ___________
THE ESTATE OF DAVID F. GREENBERG,

                                      Plaintiff,

        -against-                                                    COMPLAINT

NEW YORK UNIVERSITY and DEMOCRATIC
SOCIALISTS OF AMERICA, INC.,

                                      Defendants.


       Plaintiff, Martin Hecht as Administrator of The Estate of David F. Greenberg, by and

through his attorneys, Schwartz, Conroy & Hack, PC, as and for his Complaint against Defendants

New York University and the Democratic Socialists of America, Inc., hereby sets forth the

following:

       1.      This is an action to secure the proceeds of three retirement annuity contracts held

by David F. Greenberg (hereinafter, “Decedent”) as part of his employee pension benefit plan with

New York University.

       2.      The Estate of David F. Greenberg (hereinafter, the “Estate”), administered by his

nephew, Martin Hecht (hereinafter, “Hecht”), brings this Complaint against New York University

(hereinafter, “NYU”), Decedent’s former employer, for damages resulting from its breach of its

fiduciary duties under the Employee Retirement Income Security Act of 1974 (hereinafter,

“ERISA”), and against the Democratic Socialists of America, Inc. (hereinafter, “DSA”), alleged

successor-in-interest to the New American Movement, a now-defunct political organization whom

NYU incorrectly proffers as the rightful beneficiary of three of Decedent’s four retirement annuity

contracts.


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       3.      No information could be found that the New American Movement and the DSA

observed any legal or other formalities for their alleged merger.

       4.      Hecht, as duly appointed Administrator of the Estate of David F. Greenberg

(hereinafter, “Plaintiff”) challenges NYU’s determination that the DSA is a proper beneficiary to

Decedent’s annuity contracts on the grounds that NYU’s default to a fifty-year-old document

naming the “New American Movement” as contingent beneficiary of Decedent’s retirement

annuity plan constitutes an unreasonable exercise of discretion in breach of its fiduciary duties

under ERISA.

       5.      Decedent’s parents, Louis Greenberg and Mina Greenberg, were named as the

primary beneficiaries of the original retirement annuity contract signed by Decedent in 1974. Half

a century later, Decedent died on July 12, 2024.

       6.      Because Decedent’s parents predeceased him, NYU seeks to distribute the balance

of Decedent’s retirement annuity plan to the DSA, as successor-in-interest to the New American

Movement.

       7.      Additionally, Plaintiff seeks to hold NYU accountable for its breaches of fiduciary

duty in the handling of the Decedent’s investment accounts, and by extension, other similarly

situated employees.

                                JURISDICTION AND VENUE

       8.      Jurisdiction for this civil action arises under 28 U.S.C. § 1331 as a matter involving

federal questions pursuant to ERISA’s civil enforcement provision codified at 29 U.S.C. § 1132.

       9.      This District is the proper venue for this action under 29 U.S.C. § 1132(e)(2) and

28 U.S.C. § 1391(b) because it is where the subject retirement plan is administered, where at least

one of the alleged breaches took place, and where all Defendants reside.



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                                        THE PARTIES

       10.     Decedent was a fully vested participant in the New York University Retirement

Plan for Members of the Faculty, Professional Research Staff and Administration, EIN 13-

5562308, Plan No. 001 (hereinafter, the “Faculty Plan”).

       11.     Decedent resided at 110 Bank St., Apt 6F, New York, NY 10014 until his death on

July 12, 2024. A true and accurate copy of Decedent’s Certificate of Death is annexed hereto as

Exhibit “A”.

       12.     Hecht was appointed the administrator of the Estate of David F. Greenberg by the

Surrogates Court of the State of New York, County of New York, on September 26, 2024. A true

and accurate copy of the Certificate of Appointment of Administrator is annexed hereto as Exhibit

“B”.

       13.     The Estate is domiciled in Manhattan, New York.

       14.     Hecht is a resident of Illinois with an address at 1306 Sunnyside Avenue,

Highland Park, IL 60035.

       15.     NYU was the plan sponsor and fiduciary under ERISA for the Faculty Plan.

       16.     Defendant NYU is a non-profit corporation organized under New York law with

its principal place of business in New York, New York.

       17.     Defendant DSA is a non-profit corporation organized under New York law with its

principal place of business in New York, New York.

                                          THE PLAN

       18.     The Faculty Plan is a defined contribution, individual account, employee pension

benefit plan pursuant to 29 U.S.C. § 1002(2)(A) and § 1002(34).




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       19.     The Faculty Plan is established and maintained under a written document in

accordance with 29 U.S.C. § 1102(a)(1).

       20.     The Faculty Plan provides for retirement income for certain employees of NYU.

That retirement income depends upon contributions made on behalf of each employee by his or

her employer, deferrals of employee compensation and employer matching contributions, and

performance of investment options net of fees and expenses.

       21.     As discussed below, the Faculty Plan was funded by retirement annuity contracts

with TIAA-CREF.

       22.     NYU is the fiduciary responsible for the control, management and administration

of the Faculty Plan, in accordance with 29 U.S.C. § 1102(a).

       23.     NYU is the Plan Administrator under 29 U.S.C. § 1002(16)(A)(i) with exclusive

responsibility for the management and administration of the Faculty Plan, with all powers

necessary to enable NYU to properly carry out such responsibilities, including the selection and

compensation of the providers of administrative services to the Faculty Plan and the selection,

monitoring, and removal of the investment options made available to participants for the

investment of their contributions and provision of their retirement income.

       24.     NYU is a fiduciary to the Faculty Plan due to its management and control over the

Faculty Plan, its assets and administration. 29 U.S.C. § 1002(21).

                                  FACTUAL BACKGROUND

       25.     Decedent was a professor of sociology at NYU for forty-nine years, from 1973 until

his retirement in 2022 at the age of eighty.




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       26.     Decedent retired from NYU in 2022, by which time he was a fully vested

participant in the Faculty Plan. Decedent continued to be a participant in the Faculty Plan after

retiring from NYU.

       27.     Decedent passed away on July 12, 2024.

       28.     At the time of his death and as part of the Faculty Plan, Decedent held four

retirement annuity contracts with the Teachers Insurance and Annuity Association of America

(“TIAA”) and College Retirement Equities Fund (“CREF”) (hereinafter, collectively, “TIAA-

CREF”) through NYU, bearing the following account numbers:

               •      A6132193/P6132190

               •      L30977S6/M30977S4

               •      F1776563/H1776569

               •      F543FTV4/H543FTV0

       (Hereinafter, collectively, the “TIAA Contracts”).

   A. Decedent’s Stale Beneficiary Designation

       29.     In addition to the F5 Contract, at the time of his death, Decedent also held three

other retirement annuity contracts bearing account numbers: (i) A6132193/P6132190; (ii)

L30977S6/M30977S4; and (iii) F1776563/H1776569 (collectively, the “Disputed Contracts”).

       30.     The collective value of the Disputed Contracts as of the date of this filing is

approximately $4,765,123.00.

       31.     The Disputed Contracts designate Decedent’s parents, Louis and Mina Greenberg,

as primary beneficiaries in equal shares and the “New American Movement” as contingent

beneficiary.




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        32.      Louis and Mina Greenberg passed away in 1986 and 2008, respectively. Therefore,

the New American Movement is the only remaining beneficiary of the Disputed Contracts.

        33.      The New American Movement was a political organization established in 1971 by

veterans of the New Left movement and in opposition to United States involvement in Vietnam. 1

        34.      Following the Vietnam War, in 1982, the New American Movement discontinued

its operations and allegedly merged with the Democratic Socialist Organizing Committee to form

the DSA.

        35.      The New American Movement has not existed in its original and true corporate

form since 1982.

        36.      There is no indication that the New American Movement observed legal or other

necessary formalities in merging with the DSA.

        37.      The DSA is not a legal successor-in-interest to the New American Movement.

        38.      Because neither of the primary beneficiaries of the Disputed Contracts have been

alive since 2008, and because the contingent beneficiary of the Disputed Contracts has not existed

in its original corporate form since 1982, the designated beneficiaries of the Disputed Contracts—

as are currently named— do not reflect Decedent’s true intentions.

Decedent’s true intention, to designate his Estate as beneficiary of his retirement annuity contracts,

is reflected in his most recent beneficiary designation.

    B. Decedent’s Intended Beneficiary Designation

        39.      On February 25, 1974, Decedent executed his beneficiary designations under

retirement annuity contract bearing account number A6132193/P6132190 2 (the “Original



        1
            Joel Blau Collection of New American Movement Records (1972);
https://findingaids.library.nyu.edu/tamwag/tam_051/
          2
            Retirement annuity contract A6132193/P6132190 is one of the three “Disputed Contracts.”

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Retirement Annuity Contract”). At this time, Decedent was thirty-one years old and residing in the

United States during the height of the Vietnam War.

       40.      Decedent’s 1974 beneficiary designation named his parents, Louis and Mina

Greenberg, as the primary beneficiaries under the Original Retirement Annuity Contract, both of

whom were then living. Decedent’s designation of the New American Movement as contingent

beneficiary was made in furtherance of his sincerely held political beliefs, which were closely

aligned with the ideological principles and objectives of the New American Movement.

       41.      Twenty-two years later, on December 4, 1996, Decedent made his most recent

beneficiary designation under his Vanguard Section 403(b)(7) Custodial Account (Plan #90789),

then-held by Vanguard.

       42.      Decedent’s Vanguard Section 403(b)(7) Custodial Account was transferred to

TIAA following NYU’s consolidation of its retirement plans with a single recordkeeper in 2018;

the proceeds of this account ultimately landed in Decedent’s TIAA account bearing number

bearing account number F543FTV4/H543FTV0 (hereinafter, the “F5 Contract”). The F5 Contract

followed the beneficiary designations made by Decedent in 1996 under his Vanguard plan.

       43.      The beneficiary designations made by Decedent in 1974 no longer made sense in

1996. One of the primary beneficiaries under the Original Retirement Annuity Contract,

Decedent’s father, Louis Greenberg, passed away ten years earlier, in 1986. As for the contingent

beneficiary under the Original Retirement Annuity Contract, the New American Movement

dissolved in or about 1982 following its alleged merger (the legality of which remains contested)

with the DSA.

       44.      Decedent’s decision to designate the New American Movement as a beneficiary

under his Original Retirement Annuity Contract was due largely in part to the political climate of



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the day. Decedent was firmly against United States involvement in Vietnam and his decision to

designate the New American Movement—as vigorous opponents of the Vietnam War—as a

beneficiary was reflective of that belief.

        45.     However, in 1996, United States involvement in Vietnam was long since over and

Decedent’s priorities had shifted. At the age of fifty-four, Decedent was focused on family. His

two sisters, Arline Tufano and Dena Karzen, each had two sons, making Decedent a loving uncle

to four nephews—Richard and Martin Hecht, and Brian and Todd Karzen. By 1996, Richard,

Martin, Brian, and Todd were beginning to have children of their own.

        46.     Motivated by his growing family responsibilities, Decedent was prompted to

update his beneficiary designations under his retirement accounts in 1996 in order to, one day,

protect and provide for his growing family. Decedent believed that the beneficiary designations he

effected in 1996 would apply to all of his retirement accounts, including the Original Retirement

Annuity Contract.

        47.     As enumerated above, in paragraph 42, the F5 Contract followed the beneficiary

designations made by Decedent in 1996 under his Vanguard plan, designating his sisters, Arline

Tufano and Dena Karzen, as primary beneficiaries in equal shares and his Estate as contingent

beneficiary. It was Decedent’s intention that this beneficiary designation applied to all his

retirement accounts through NYU.

        48.     In reality, Decedent’s 1996 beneficiary designation was isolated to his Vanguard

plan and the F5 Contract held by TIAA-CREF with which it eventually became. Retirement

annuity contracts L30977S6/M30977S4 and F1776563/H1776569 3 followed the beneficiary

designation under the Original Retirement Annuity Contract.


        3
         Retirement annuity contracts L30977S6/M30977S4 and F1776563/H1776569 are two of the three
“Disputed Contracts.”

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       49.     It is clear that Decedent was never made aware of the blatant discrepancy among

the beneficiary designations under his four retirement contracts held by TIAA-CREF, as he would

have promptly taken the necessary steps to correct the improper designations and align the

beneficiary designations under all four retirement contracts with those designated under the F5

Contract—i.e., designating his sisters, Arline Tufano and Dena Karzen, as primary beneficiaries

in equal shares and his Estate as contingent beneficiary.

       50.     But for NYU’s failure to inform Decedent of the aforementioned discrepancy, the

designated beneficiaries of the Disputed Contracts would have been Arline Tufano and Dena

Karzen, as primary beneficiaries in equal shares, and Decedent’s Estate as contingent beneficiary.

       51.     Dena Karzen and Arline Tufano passed away in 2017 and 2022, respectively,

predeceasing Decedent. Thus, but for NYU’s failure to inform Decedent of the aforementioned

discrepancy, Decedent’s Estate would have been the sole beneficiary of all retirement contracts

held by Decedent at TIAA-CREF at the time of his passing in 2024.

   C. NYU’s Failure to Timely Respond to Plaintiff’s Claim

       52.     On or about October 31, 2024, Plaintiff, through counsel, notified NYU of the

Estate’s intent to contest the validity of Decedent’s beneficiary designations under the following

TIAA contracts held by Decedent at the time of his death (i.e., the Disputed Contracts):


      A6132193/ P6132190          TIAA-CREF Retirement Annuity (RA) plan issued in 1974


                                  Continuation of TIAA-CREF RA plan A6132193/ P6132190, post-
      L30977S6/ M30977S4
                                  Vanguard/TIAA consolidation


      F1776563/ H1776569          TIAA-CREF Retirement Choice (RC) plan issued in 2024




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       A true and accurate copy of this October 31, 2024 correspondence is annexed hereto as

Exhibit “C”.

       53.     By this correspondence, Plaintiff also requested the following documents for the

Disputed Contracts:

               a.     The underlying Plan Document, inclusive of disclosure documents and any
                      amendments thereto;
               b.     The Summary Plan Description;
               c.     Any applicable notices or disclosures;
               d.     Any claims procedure forms; and
               e.     Any and all correspondence between New York University and Mr.
                      Greenberg regarding his beneficiary designation(s) from 1974 until the date
                      of his death on July 12, 2024.

       54.     Pursuant to 29 U.S.C. § 1024(b)(4), Plaintiff, as representative for Decedent’s

Estate, is entitled to the documents requested in its October 31, 2024 correspondence to NYU and

enumerated in paragraph 53.

       55.     On or about November 27, 2024, Mark Petti (hereinafter, “Petti”), Director of

Retirement Plans & Global Benefits, New York University, responded to Plaintiff’s October 31,

2024 correspondence on behalf of NYU, providing the following documents, a compilation of

which is annexed hereto as Exhibit “D”:

               a.     Summary Plan Description

                        i.    Including APPENDIX C: Claims And Appeals Procedures

               b.     Summary Annual Report

               c.     Safe Harbor and QDIA notices

               d.     Annual Investment Notice

               e.     2020 Restated Plan Document with subsequent Amendments




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               f.     Two correspondences between New York University and Mr. Greenberg,
                      related to the NYU retirement Plan, regarding his beneficiary designation(s)
                      from 1974 until the date of his death on July 12, 2024.

       56.     The “two correspondences between New York University and Mr. Greenberg”

referenced by NYU in its October 31, 2024 were merely the account opening forms for Decedent’s

Original Retirement Annuity Contract and Decedent’s F5 Contract, issued in 1974 and 1996,

respectively. See Exhibit “D” at 105-108.

       57.     In an email to Petti dated December 2, 2024, Plaintiff, through counsel, inquired as

to the existence of any further correspondence between NYU and Decedent. In response, Petti

proposed a call to discuss same.

       58.     On December 12, 2024, Plaintiff’s counsel conferred with Petti and legal counsel

for NYU. During this call, Plaintiff’s counsel repeatedly requested any and all correspondence

between NYU and Decedent. In response, Petti and counsel refused to acknowledge the existence,

or lack thereof, of any such correspondence, and as of the date of this filing, have not produced

any further correspondence to Plaintiff.

       59.     On December 20, 2024, Plaintiff, through counsel, submitted its claim to NYU for

all benefits payable under the Disputed Contracts, as well as any other retirement contracts held

by Decedent at the time of his death (hereinafter “Plaintiff’s Claim”). A true and accurate copy of

Plaintiff’s Claim is annexed hereto as Exhibit “E”.

       60.     On April 1, 2025, NYU responded to Plaintiff’s Claim, stating that pursuant to

“Appendix C [of] the claims and appeals procedures for the New York University Retirement Plan

for Members of the Faculty, Professional Research Staff, and Administration, NYU has

determined additional time is needed to process the Claim…[and] determine the status of entities




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listed as beneficiaries on the account.” A true and accurate copy of NYU’s April 1, 2025 response

to Plaintiff’s Claim is annexed hereto as Exhibit “F”.

       61.     Pursuant to Appendix C (hereinafter, “Claims and Appeals Procedures”) of the

Summary Plan Description, “[a] Claim normally shall be processed and determined by the Claims

Manager within a reasonable time (but no longer than 90 days) following actual receipt of the

Claim. However, if the Claims Manager determines that additional time is needed to process the

Claim and so notifies the Claimant in writing within the initial 90-day period, the Claims

Manager may extend the determination period for up to an additional 90 days.” See Exhibit “D”

at 29 (emphasis added).

       62.     NYU’s April 1, 2025, response falls outside of the initial 90-day period and thus

constitutes its failure to follow claims procedures consistent with its own Summary Plan

Description as well as 29 C.F.R. § 2560.503-1(f).

       63.     Additionally, NYU’s April 1, 2025, response fails to identify the “special

circumstances” required to invoke a 90-day extension of time for processing Plaintiff’s Claim, as

provided under 29 C.F.R. § 2560.503-1(f). The regulation mandates that any such extension be

accompanied by a written explanation of the special circumstances necessitating the delay and the

date by which a final decision will be made. NYU’s response, however, merely asserts the need

for additional time without identifying any extraordinary or unforeseeable conditions that would

justify an extension under the regulation. See Exhibit “F”.

       64.     NYU’s proffered explanation for a 90-day extension of time for processing

Plaintiff’s Claim—that additional time is needed “to determine the status of entities listed as

beneficiaries on the account”—does not constitute a “special circumstance” within the meaning of

29 C.F.R. § 2560.503-1(f). Routine administrative tasks such as verifying beneficiary information



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are inherent in claim processing and do not satisfy the heightened threshold for an extension.

Courts within the Second Circuit have made clear that an extension must be supported by

exceptional or unforeseeable conditions, not by ordinary administrative delay. See Halo v. Yale

Health Plan, Dir. of Benefits & Records Yale Univ., 819 F.3d 42, 57 (2d Cir. 2016) (emphasizing

that strict compliance with ERISA’s claims procedures is required and that plan administrators

may not deviate from regulatory timeframes without justification); Eastman v. Union Pacific

Corp., No. 13 Civ. 912 (JCH), 2014 WL 1317631, at *7 (D. Conn. Mar. 31, 2014) (holding that a

plan’s failure to comply with procedural requirements, including improper extensions, constitutes

a violation of ERISA).

       65.     NYU’s failure to articulate a valid basis for extending the decision deadline

therefore renders its extension improper and noncompliant with governing law.

       66.     In accordance with the foregoing and pursuant to 29 C.F.R. § 2560.503-1(l),

Plaintiff has “exhausted the administrative remedies available under the plan and [is] entitled to

pursue any available remedies under § 502 of the [Employee Retirement Income Security Act of

1974, 29 U.S.C. 1132] on the basis that [NYU] has failed to provide a reasonable claims procedure

that would yield a decision on the merits of the claim.”

       67.     It is well-established in this Circuit that an employee benefit plan’s “failure to

comply with the Department of Labor's claims-procedure regulation, 29 C.F.R. § 2560.503-1, will

result in that claim being reviewed de novo in federal court.” Halo, 819 F.3d at 45 (2d Cir. 2016).

       68.     NYU’s failure to timely respond to Plaintiff’s Claim affords Plaintiff de novo

review in this Court.




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       D.      NYU’s Breaches of Fiduciary Duty

       69.     Pursuant to 29 U.S.C. § 1002 (21)(A), a person who “(i) asserts discretionary

authority or control over the management of the plan, (ii) authority of control over plan assets, or

(iii) any discretionary authority or control over plan administration is a fiduciary [under ERISA].”

       70.     As employer and sponsor of the Faculty Plan, NYU has asserted discretionary

authority and control over the management and administration of the Faculty Plan and its assets,

rendering it a fiduciary for purposes of ERISA.

       71.     ERISA imposes a strict fiduciary duty of prudence upon NYU as a fiduciary of the

Faculty Plan. The fiduciary duty of prudence “imposes a ‘prudent person’ standard by which to

measure fiduciaries' investment decisions and disposition of assets.” Fifth Third Bancorp v.

Dudenhoeffer, 573 U.S. 409, 134 S. Ct. 2459 (2014) (citation omitted). This means that ERISA

fiduciaries must discharge their responsibilities “with the care, skill, prudence, and diligence” that

a prudent person “acting in a like capacity and familiar with such matters would use.” 29 U.S.C.

§1104(a)(1)(B).

       72.     In response to Plaintiff’s request for “any and all correspondence between New

York University and Mr. Greenberg regarding his beneficiary designation(s) from 1974 until the

date of his death on July 12, 2024”, NYU failed to produce even a single document evidencing

correspondence.

       73.     Upon this information, it is clear that NYU failed to communicate with Decedent

at all over the course of fifty years and thus, failed to fulfill its obligations of due diligence in

administering Decedent’s TIAA Accounts.

       74.     NYU failed to take even minimal steps towards fulfilling its ERISA-prescribed

fiduciary duty of prudence owed to Decedent.



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       75.     NYU’s failure to communicate with Decedent regarding the beneficiary

designations he made in 1974 on a retirement annuity contract worth approximately $4,765,123.00

constitutes a prima facie breach of its fiduciary duty of prudence.

                                          COUNT I
                          Claim for Declaratory and Equitable Relief
                                     (ERISA § 502(a)(3))

       76.     Plaintiff incorporates and re-alleges the foregoing paragraphs by reference as

though fully set forth herein.

       77.     Plaintiff brings this Count I pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3),

which provides that “[a] civil action may be brought . . . by a . . . participant [or] beneficiary (A)

to enjoin any act or practice which violates any provision of this subchapter or the terms of the

plan, or (B) to obtain other appropriate equitable relief (i) to redress such violations or (ii) to

enforce any provisions of this subchapter or the terms of the plan.”

       78.     Pursuant to 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil Procedure 57,

Plaintiff seeks a declaration from the Court providing equitable relief under ERISA § 502(a)(3),

29 U.S.C. § 1132(a)(3), including:

               a.      A declaration that NYU has breached its fiduciary duties to the Estate under
                       the terms of the Faculty Plan;

               b.      A declaration that the DSA is neither a legal successor in interest to nor a
                       proper beneficiary of the New American Movement;

               c.      A declaration that the DSA is not a proper beneficiary of the Disputed
                       Contracts;

               d.      Surcharge; and

               e.      The imposition of a constructive trust on the proceeds of the Disputed
                       Contracts.




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       79.       Plaintiff, pursuant to ERISA § 502(a)(3), 28 U.S.C. §§ 2201 and 2202, and Federal

Rule of Civil Procedure 57, and in accordance with the principles of equity, seeks a declaratory

judgment that:

                 a.      As a result of NYU’s breach of its fiduciary duties under the Faculty Plan,
                         Plaintiff has suffered damages in an amount equal to the proceeds that
                         otherwise would have been received under the Disputed Contracts;

                 b.      As a result of NYU’s breach of its fiduciary duties under the Faculty Plan,
                         it has retained funds that it would have otherwise been legally required to
                         pay to Plaintiff and has wrongfully profited as a result; and

                 c.      As a result of NYU’s breach of its fiduciary duties under the Faculty Plan,
                         Plaintiff has suffered actual harm, injury and loss, which cannot be
                         remedied absent equitable or remedial relief, as the Court may deem
                         necessary.

       80.       Plaintiff, pursuant to ERISA § 502(a)(3), 28 U.S.C. §§ 2201 and 2202, and Federal

Rule of Civil Procedure 57, and in accordance with New York law and the principles of equity,

seeks a declaratory judgment that—because at the time of Decedent’s death, all beneficiaries

designated on the Disputed Contracts had lapsed—the proceeds of the Disputed Contracts must

escheat to the Estate.

       81.       Plaintiff, pursuant to ERISA § 502(a)(3) and in accordance with the principles of

equity, requests that NYU be compelled to disgorge or be surcharged for the value of the Disputed

Contracts, which is has wrongfully retained.

       82.       Plaintiff, pursuant to ERISA § 502(a)(3) and in accordance with the principles of

equity, seeks the imposition of a constructive trust on the proceeds of the Disputed Contracts. The

imposition of a constructive trust is necessary to prevent unjust enrichment and to ensure that the

proceeds of the Disputed Contracts are preserved and restored to the Plaintiff in accordance with

Decedent’s intent and the requirements of ERISA.




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                                           COUNT II
                      Claim for Benefits and to Clarify and Enforce Rights
                                    (ERISA § 502(a)(1)(B))
        83.     Plaintiff incorporates and re-alleges the foregoing paragraphs by reference as

though fully set forth herein.

        84.     Plaintiff brings this Count II pursuant to ERISA § 502(a)(1)(B), 29 U.S.C. §

1132(a)(1)(B), which allows a participant or beneficiary to bring claims to recover benefits due

under a plan, to enforce rights under the terms of the plan, or to “clarify his rights to future benefits

under the terms of the plan.”

        85.     As a Faculty Plan participant, NYU owed fiduciary duties to Decedent; thereby,

Plaintiff brings this claim on Decedent’s behalf.

        86.     As a result of NYU’s breach of its fiduciary duty owed to Decedent, the

beneficiaries designated on the Disputed Contracts did not align with his intended beneficiary

designation.

        87.     Decedent is entitled to have his true intentions honored as they relate to the intended

beneficiaries of the Disputed Contracts.

                                            COUNT III
                                 Claim for Breach of Fiduciary Duty
                                 (ERISA §§ 404, 409, and 502(a)(2))

        88.     Plaintiff incorporates and re-alleges the foregoing paragraphs by reference as

though fully set forth herein.

        89.     Plaintiff brings this Count III pursuant to ERISA § 502(a)(2), 29 U.S.C. §

1132(a)(2), which allows a participant or beneficiary to bring claims for appropriate relief for

violation of the fiduciary duties imposed by ERISA in ERISA §§ 404 and 409, 29 U.S.C. §§ 1104,

1109.



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        90.     Pursuant to ERISA § 409, 29 U.S.C. § 1109, “Any person who is a fiduciary with

respect to a plan who breaches any of the responsibilities, obligations, or duties imposed upon

fiduciaries by this subchapter shall be personally liable” to make good any such losses.

        91.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides in pertinent part that a

fiduciary shall discharge his duties with respect to a plan solely in the interest of the participants

and beneficiaries “with the care, skill, prudence and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such matters would use in

the conduct of an enterprise of a like character and with like aims.”

        92.     NYU failed to engage in a prudent process for periodically confirming that the

beneficiary information on its Faculty Plan participants’ accounts was up-to-date and reflective of

their true intentions.

        93.     By its actions, NYU has failed to uphold its duty to honor Decedent’s rights and

interests as reflected in his beneficiary designations under the Disputed Contracts, a duty which is

also owed to the Estate.

        94.     NYU’s actions have violated the obligations imposed on them by ERISA § 404, 29

U.S.C. § 1104. NYU’s violative actions include:

                a.       Its failure to periodically communicate with Decedent to ensure the
                         accuracy of the beneficiary designations for the Disputed Contracts; and

                b.       Its failure to provide the Estate with full disclosure of Decedent’s account
                         information and documentation.
        95.     As a result of NYU’s breach of its fiduciary duty, Plaintiff has suffered in the

amount of the proceeds of the Disputed Contracts, lost earnings and interest on that amount, and

has incurred attorneys’ fees and court costs associated with bringing this action.




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                                            COUNT IV
                     In the Alternative, for Equitable Relief at Common Law

        96.     Plaintiff incorporates and re-alleges the foregoing paragraphs by reference as

though fully set forth herein.

        97.     Plaintiff brings this Count IV pursuant to common law principles of equity.

        98.     Should the Court conclude that the Faculty Plan is not subject to ERISA, then, in

the alternative, NYU, by its conduct described above, must be estopped from denying payment of

the amounts due to Plaintiff under the Faculty Plan and have waived any grounds, contractual or

otherwise, to deny payment.

        99.     NYU is liable for equitable or legal relief and must be ordered to pay all sums that

should have been paid to Plaintiff or the Estate, in addition to all lost interest and earnings resulting

from NYU’s failure to timely do so.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of the Faculty Plan and all similarly situated Faculty

Plan participants and beneficiaries, respectfully requests that the Court:

                a.      Find and declare that NYU has breached its fiduciary duties to the Estate
                        under the terms of the Faculty Plan;

                b.      Find and declare that the DSA is neither a legal successor in interest to nor
                        a proper beneficiary of the New American Movement;

                c.      Find and declare that the DSA is not a proper beneficiary of the Disputed
                        Contracts;

                d.      Find and declare that the proceeds of the Disputed Contracts escheat to the
                        Estate;

                e.      Impose a surcharge upon NYU for the value of the Disputed Contracts;

                f.      Impose a constructive trust on the proceeds of the Disputed Contracts;




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             g.    Find and declare the fifty-year-old beneficiary designations under the
                   Disputed Contracts to be stale designations;

             h.    Determine that the Disputed Contracts should adopt the beneficiary
                   designations reflected in Decedent’s most recently issued retirement
                   annuity contract bearing account number F543FTV4/H543FTV0 as
                   indicative of Decedent’s true intention;

             i.    Conform the beneficiary designations under the Disputed Contracts to the
                   beneficiary designation under the F5 Contract;

             j.    Award to the Plaintiff its attorneys’ fees and costs under 29 U.S.C. §
                   1132(g)(1) and the common fund doctrine;

             k.    Order the payment of interest to the extent it is allowed by law; and

             l.    Grant other equitable or remedial relief as the Court deems just and proper.

Dated: April 11, 2025
       Garden City, New York
                                         Respectfully submitted,

                                         SCHWARTZ, CONROY & HACK, PC

                                  By:    /s/ Michail Z. Hack______
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